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IN THE UNITED STATES DISTRICT COURT HLEDEH‘¢ D`
FOR THE WESTERN DISTRICT OF TENNESSEE Lh“`“ ‘L
WESTERN DIVISION QSJUH|3 IH,"32
UNITED STATES OF AMERICA, * HOBFWWM m
..; J s".. -j' "
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Plaintiff, * *D-wt!w,MEM@Hé
V. * CR. NO. 04-20044 B
JIMMY W. HART, *
Defendant. *
ORDER

 

CONSIDERING THE FOREGOING Unopposed Motion to Amend
Conditions of Release, Mr. Hart IS allowed to travel to and from
the city of Orlando, Florida from the 17th day of June, 2005
until the 25th day of June 2005. At the conclusion of that trip
and until that trip commences, his current conditions will remain
in effect restricting his travel to th` District.

THUS Ordered this ITQ` day of , 2005 at

Memphis, Tennesse .
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UNITED STATES JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CR-20044 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

